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IN THE CIRCUIT COURT OF DESOTO COUNTY MISSISSIPPI

JOSSIE FIFER; INDIVIDUALLY, and as MOTHER,

NEXT BEST FRIEND, and PERSONAL REPRESENTATIVE OF MARVIN FIFER, JR;
and ON BEHALF OF THE WRONGFUL DEATH

 

 

BENEFICIARIES OF MARVIN FIFER, JR PLAINTIFFS
VS. CTAONA- VAAGCTS
RJ PROPERTY MANAGEMENT, LLC DEFENDANT
COMPLAINT
JURY TRIAL REQUESTED

COMES NOW the Plaintiff, Marvin Fifer, Jr., by and through his mother, Jossie Fifer,
individually, and as Mother, Next Best Friend, and personal representative of Marvin Fifer, Jr.
and on behalf of the wrongful death beneficiaries of Marvin Fifer, Jr. and files this her Complaint
against the above named Defendant, RJ Property Management, LLC and for cause would state
the following, to wit:

1. Plaintiffs ask that the Court combine and incorporate this cause number with
Marvin Fifer, Jr. v. James Gentry, Desoto County Circuit Court Cause No. CI2018-373CWD
which is currently pending in the Circuit Court of DeSoto County, Mississippi. Both Desoto
County Circuit Court Cause No. CI2018-373C WD and the above styled and numbered cause of
action arise out of the same set of facts and circumstances regarding an motor vehicle collision
that occurred in Horn Lake, DeSoto County, Mississippi on October 1, 2018.

2. Your Plaintiff, Jossie Fifer, whose current address is 6059 Ross Road, Olive
Branch, MS, brings -suit individually, and on behalf of the wrongful death beneficiaries of
Marvin Fifer, Jr., in her capacity as Mother, Next Best Friend, Personal Representative, and
Court Appointed Administratrix of the Estate of Marvin Fifer, Jr., deceased. SOT

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3. The wrongful death beneficiaries of Marvin Fifer, Jr. are his Mother, Jossie Fifer,
his sisters, Crystal Hebron and Sonya Fifer and his brother, Patrick Fifer.

4, The Defendant, RJ Property Management: LLC, is a non-resident Tennessee
corporation which is headquartered in Memphis, Tennessee, and whose corporate address is
Suite C, 5099 Old Summer Road, Memphis, TN 38122; and which may be served with service of
process by and through the Defendant Corporation’s designated agent for service of process who
is Jack A. Whitaker, 358 Dubray Manor Drive, Collierville, TN 38017-3950.

5. On or about October 1, 2018, the Marvin Fifer was driving a Chevrolet Trail
Blazer on Goodman Road in a Westerly direction in Horn Lake, DeSoto County, Mississippi.
Marvin Fifer was stopped for traffic in front of him. Traffic had stopped for the red traffic light
at the intersection of Goodman Road and Mallard Creek Drive.

6. James Gentry was following behind Marvin Fifer on Goodman Road in his
Chevrolet Silverado and was also towing a trailer owned by and supplied to James Gentry by his
employer, RJ Property Management LLC. |

7. James Gentry uses his Chevrolet Silverado and the trailer supplied to James
Gentry in the course and scope of his employment with RJ Property Management LLC.

8. James Gentry negligently and carelessly failed to keep a proper distance between
the front of his vehicle and the rear of the Marvin Fifer’s vehicle.

9. James Gentry carelessly and negligently crashed into the back of Marvin Fifer’s
vehicle striking Marvin Fifer from the rear.

10. James Gentry owed a duty to all traffic on the highway to use reasonable care
while driving.

11. James Gentry owed a duty to the decedent and the decedent’s wrongful death
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beneficiaries to use reasonable care.

12. James Gentry violated his duty to the decedent and the decedent’s wrongful death
beneficiaries to use reasonable care.

13. James Gentry was negligent.

14. Marvin Fifer, Jr. was injured and killed.

15. The negligence of James Gentry was the proximate cause of the wrongful death of
Marvin Fifer, Jr. and of all injuries and damages sustained by Marvin Fifer, Jr. and the decedent’s
wrongful death beneficiaries.

16. At the time of the wreck which is the subject of this lawsuit, James Gentry was
towing a work trailer furnished to James Gentry by RJ Property Management LLC.

17. At the time of the wreck James Gentry was an employee for RJ Property
Management LLC.

18. Plaintiff invokes the doctrine of respondeat superior.

19. RJ Property Management LLC is liable for the actions of its employee, James
Gentry through the doctrine of respondeat superior.

20. | Onthe day of and at the time of the wreck, James Gentry was pulling a work trailer
owned by his employer, RJ Property Management LLC.

21. Prior to and at the time of the collision, James Gentry was an employee of RJ
Property Management LLC.

22. Prior to and at the time of the collision, James Gentry was at all times an agent of
RJ Property Management LLC.

23. | RJ Property Management LLC was the principal for James Gentry.

24. Prior to and at the time of the collision, James Gentry was authorized to act on
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behalf of RJ Property Management LLC.

25. Prior to and at the time of the collision, RJ Property Management LLC,
authorized James Gentry to act and do business on behalf of RJ Property Management LLC.

26. Prior to the collision, James Gentry had performed maintenance on a leased
property for a tenant of RJ Property Management LLC.

27. Prior to and at the time of the rear-end collision, James Gentry was using a work
trailer provided to him by RJ Property Management LLC to act on behalf of RJ Property
Management LLC and do business on behalf of RJ Property Management LLC.

28. Prior to and at the time of the collision, James Gentry was towing a trailer that
was owned or leased by his employer, RJ Property Management LLC.

29. Prior to and at the time of the collision, James Gentry was authorized to act and
do business on behalf of RJ Property Management LLC, including but not limited to towing the
RJ Property Management LLC trailer at the time of the collision.

30. RJ Property Management LLC is bound by James Gentry's negligent, actions
when James Gentry who was towing a trailer owned or leased by RJ Property Management LLC,
negligently failed to yield to the Plaintiff's car and struck Marvin Fifer from behind with his
truck and trailer.

31. Prior to and at the time of the collision, James Gentry had express authority on
behalf of and from RJ Property Management LLC by words or by conduct of RJ Property
Management LLC to do the work for which James Gentry was hired or engaged for on behalf of
RJ Property Management LLC.

32. Prior to and at the time of the collision, James Gentry had implied authority on

behalf of and from RJ Property Management LLC necessary or incidental to carrying out the
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work for which James Gentry was hired or engaged to do for RJ Property Management LLC,
which included but was not limited safely operating his truck while towing the RJ Property
Management LLC trailer.

33. Prior to and at the time of the collision, James Gentry had apparent authority on
behalf of and from RJ Property Management LLC which a reasonably prudent person, familiar
with the usage of the particular business such as RJ Property Management LLC, would think an
employee such as James Gentry would have necessary or incidental to carrying out the work for
which James Gentry was hired or engaged to do for RJ Property Management LLC, which
included but was not limited to safely operating his truck while towing the RJ Property
Management LLC trailer.

34. Prior to and at the time of the collision James Gentry 's driving and pulling the
trailer owned or leased by RJ Property Management LLC was conduct connected to or necessary
to carry out his employment with RJ Property Management LLC and therefore within the scope
of his employment for RJ Property Management LLC.

35. Prior to and at the time of the collision James Gentry's driving and pulling the
trailer for RJ Property Management LLC was within the scope of his employment for RJ
Property Management LLC.

36. Prior to and at the time of the collision James Gentry's conduct was in fact done in
order to carry out the RJ Property Management LLC's work and such conduct was expécted in
order to carry out RJ Property Management LLC's work.

37. Prior to and at the time of the collision James Gentry's conduct was incidental to,
customarily connected with, or reasonably necessary for the performance of an authorized act

within the scope and authority of James Gentry’s employment with RJ Property Management.
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38. Prior to and at the time of the collision, James Gentry was acting within the scope
of his employment and within the line of his duties or RJ Property Management. RJ Property
Management is responsible for the negligent acts of James Gentry immediately prior to and at
the time of the rear-end collision with Marvin Fifer.

39. In the alternative, prior to and at the time of the collision, RJ Property
Management and James Gentry were engaged in a joint venture. RJ Property Management is
legally responsible for the wrongful conduct of James Gentry who was at all times prior to and at
the time of the collision acting within the scope of his authority while driving a truck pulling a
trailer for RJ Property Management. At the time of the collision, James Gentry’s driving while
pulling a trailer was related to the joint venture.

40. Prior to and at the time of the collision, RJ Property Management and James
Gentry each had a right to a voice in the operation and control of the truck and the RJ Property
Management trailer being pulled by James Gentry. Prior to and at the time of the collision,
James Gentry was pulling the RJ Property Management trailer as part of his common business
interests with the RJ Property Management.

41. The negligent acts of James Gentry and RJ Property Management are the
proximate cause of all of the noneconomic damages sustained by Marvin Fifer, Jr. and Marvin
Fifer, Jr.’s wrongful death beneficiaries.

42. The negligence of James Gentry and RJ Property Management is the proximate
cause of all of the economic damages sustained by the decedent and the decedent’s wrongful
death beneficiaries.

43. Prior to and at time of the wreck James Gentry had a reasonable working

knowledge of the applicable traffic safety regulations and rules of the road.
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44. Prior to and at time of the wreck James Gentry knew or should have known that
violation the applicable traffic regulations and rules of the road in this case could result in injury
or death to Marvin Fifer, Jr.

45. Prior to and at the time of the collision, James Gentry knew or should have known
that the applicable traffic regulations and rules of the road that he violated were in place to
protect against Marvin Fifer, Jr.’s injuries and death.

46. Prior to and at the time of the collision, James Gentry is guilty of negligent failure
to maintain control of the towing vehicle when towing the Defendants’ trailer.

47. James Gentry is guilty of negligent failure to allow reasonable distance between
the Defendant’s truck and trailer and the Plaintiffs vehicle.

48. Prior to and at the time of the collision, James Gentry negligently failed to allow
for extra time for stopping when towing a trailer.

49. Prior to and at the time of the collision, James Gentry and RJ Property
Management negligently failed to have and/or use a reasonable and correct weight distribution
system for the truck and for the trailer that James Gentry was towing at the time of the collision.

50. RJ Property Management is guilty of negligent entrustment of its trailer to Tanne
Gentry. Prior to and at the time of the collision RJ Property Management negligently supplied
its trailer to James Gentry when RJ Property Management knew or should have known from the
facts that towing the RJ Property Management trailer in its condition at the time of collision with
the cargo that it was carrying and the lack of necessary and required weight distribution system
created an unreasonable risk of harm to other traffic, including but not limited to Marvin Fifer,
Jr.

51. Prior to and at the time of the collision, James Gentry and RJ Property
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Management are guilty of negligently overloading the tow vehicle.

52. Prior to and at the time of the collision, James Gentry and RJ Property
Management guilty of negligently overloading the trailer.

53. Prior to and at the time of the collision, James Gentry and RJ Property
Management are guilty of negligent failure to follow the truck’s manufacturer’s recommended
tow rating for the towing vehicle.

54. Prior to and at the time of the collision, James Gentry and RJ Property
Management are guilty of negligently exceeding the tow vehicle’s towing capacity.

55. Prior to and at the time of the collision, James Gentry is guilty of negligent failure
to properly use trailer brakes.

56. Prior to and at the time of the collision, James Gentry and RJ Property
Management are guilty of negligent failure to properly load and secure cargo.

57. Prior to and at the time of the collision, James Gentry is guilty of negligent failure
to have his truck and trailer under proper control.

58. Prior to and at the time of the collision, James Gentry is guilty of negligently
failing to yield to Marvin Fifer, Jr.’s vehicle as was reasonably necessary under the existing
conditions.

59. Prior to and at the time of the collision, James Gentry negligently followed Marvin
Fifer, Jr.’s vehicle more closely than was reasonable and prudent.

60. Prior to and at the time of the collision, James Gentry negligently and carelessly
failed to have due regard for the speed of Marvin Fifer, Jr.’s vehicle.

61. Prior to and at the time of the collision, James Gentry negligently failed to have

due regard for the speed of the traffic in front of him.
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62. Prior to and at the time of the collision, James Gentry is guilty of negligent failure
to keep : proper lookout.

63. Prior to and at the time of the collision, James Gentry is guilty of negligent failure
to be alert for other vehicles ahead of him in the highway.

64. Prior to and at the time of the collision, James Gentry is guilty of negligent failure
to see that which was in plain view and to take notice of obvious dangers.

65. Prior to and at the time of the collision, James Gentry is guilty of negligent failure
to drive at a speed and at a distance so that when the vehicle ahead of him stopped, that he could
stop his truck and trailer without running into the vehicle ahead of him.

66. Prior to and at the time of the collision, James Gentry is guilty of negligently
failing to decrease the speed of his truck and trailer as was reasonably necessary under the
existing conditions.

67. Prior to and at the time of the collision, James Gentry is guilty of negligently
driving his truck and trailer at an unreasonable rate of speed given the traffic conditions and the
fact that James Gentry was pulling a truck and trailer.

68. Prior to and at the time of the collision, James Gentry is guilty of negligently
failing to comply with numerous other provisions of Title 63, Chapter 3 of the laws of the State
of Mississippi, commonly known as Traffic Regulations and Rules of the Road.

69. Prior to and at the time of the collision, James Gentry violated MCA § 63-3-619-
Distances to be maintained between traveling vehicles. The Defendant, James Gentry breached a
duty owed to Marvin Fifer, Jr. by negligently following the Plaintiffs vehicle more closely than
was reasonable and prudent, and failed to have due regard for the speed of the Marvin Fifer, Jr.’s

vehicle and the traffic upon the highway and the condition of the highway.
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70. Prior to and at the time of the collision, James Gentry is guilty of negligent failure
to obey an official traffic-control device, pursuant to Mississippi Code Annotated sections 63-3-
133 and 63-3-313.

71. Official traffic-control devices are defined by Mississippi Code Annotated section
63-3-133 as “all signs, signals, markings, and devices placed or erected by authority of a public
body or official having jurisdiction, for the purpose of regulating, warning, or guiding traffic.”

72. James Gentry violated MCA § 63-3-309, failure to stop for red light.

73. James Gentry negligently and carelessly drove his truck and trailer in such a
manner as to indicate a willful or wanton disregard for the safety of persons or property in
violation of MCA § 63-3-1201.

74. Asa direct and proximate result of the actions of James Gentry and RJ Property
Management, your Plaintiff, individually, and in her capacity as Mother, Guardian, Next Best
Friend, Personal Representative, and Court Appointed Administratrix of the Estate of Marvin
Fifer, Jr., and on behalf of the wrongful death beneficiaries of Marvin Fifer, Jr., seeks monetary
damages from James Gentry and RJ Property Management for the wrongful death of Marvin
Fifer, Jr. and for all injuries and damages sustained by Marvin Fifer, Jr. and the wrongful death
beneficiaries of Marvin Fifer, Jr., including, but not limited to:

a. All medical expenses;

b. All funeral expenses;

Cc, All damages arising from the physical injuries to the person of Marvin Fifer, Jr.;

d. Physical and Mental Pain and Suffering and Hedonic damages prior to and up
until the time of death;

or Loss of Love, Society, and Companionship of the deceased;

f. The Parents loss of earnings and services of the deceased that Marvin Fifer, Jr.
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would have provided;
g. The Deceased loss of Love, Society, and Companionship;

h. All damages as set out in the Wrongful Death Statute as set out in Section
11-7-13 of Mississippi Code, 1972

75. Furthermore, your Plaintiff, individually, and in her capacity as Mother,
Guardian, Next Best Friend, Personal Representative, and Court Appointed Administratrix of the
Estate of Marvin Fifer, Jr., and on behalf of the wrongful death beneficiaries of Marvin Fifer, Jr.,
asks for punitive damages from RJ Property Management LLC for the willful, wanton, and gross
negligent conduct of James Gentry which caused the accident.

WHEREFORE PREMESIS CONSIDERED, your Plaintiff, Jossie Fifer individually,
and in her capacity as Mother, Next Best Friend, Personal Representative, and Court Appointed
Administrator of the Estate of Marvin Fifer, Jr., and on behalf of all of the wrongful death
beneficiaries of Marvin Fifer, Jr., deceased, demands judgment of and against James Gentry and
RJ Property Management in an amount which will adequately compensate Marvin Fifer, Jr. and
all of the wrongful death beneficiaries of Marvin Fifer, Jr., for their own separate claims for all
damages allowed by law and to be determined by the jury.

Additionally, Plaintiffs are entitled to recover punitive damages from James Gentry and
RJ Property Management in an amount to be determined by the jury.

Respectfully submitted this the 4" day of April, 2019.

Wie haa
.» REID WAMBLE

THE LAW OFFICE OF D. REID WAMBLE, PLLC
POST OFFICE BOX 1950

OLIVE BRANCH, MISSISSIPPI 38654
rw9516@aol.com

TEL. (662) 893 - 2126

FAX: (662) 890 - 5686

MSB# 9516

 
